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Exhibit A

DECLARATION OF ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND BY
THE CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER

I, , declare under penalty of perjury (this

“Declaration’’) that:

1. My address is

2. My present employer is
3. My present occupation or job description is
4, I hereby certify and agree that I have read and understand the terms of the

Confidentiality Agreement and Stipulated Protective Order (the “Order’’) relating to the Disputes
between Debtors and certain of the Debtors’ creditors and other constituents, as specified in the
signature pages of the Order. All capitalized terms not otherwise defined in this Declaration
have the meanings ascribed to such terms in the Order. I further certify that I will not use
Designated Material for any purpose other than the Disputes and the Chapter 11 Cases, and will
not disclose or cause Designated Material to be disclosed to anyone not expressly permitted by
the Order to receive Designated Material. I agree to be bound by the terms and conditions of the
Order.

5. I understand that I am to retain in confidence from all individuals not expressly
permitted to receive Designated Material, whether at home or at work, all copies of any
Designated Materials, and that I will carefully maintain such materials in a manner consistent
with the Order. I acknowledge that the return or destruction of Designated Material shall not

relieve me from any other continuing obligations imposed upon me by the Order.

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6. I acknowledge and agree that I am aware that by receiving Designated Material
(a) I may be receiving material non-public information about companies that issue securities and
(b) there exist laws, including federal securities laws, that may restrict or prohibit the sale or

purchase of securities of such companies as a result of the receipt of such information.

7. I stipulate to the jurisdiction of this Court solely with respect to the provisions of
the Order.
Date:
(Signature)
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